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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

Savannah Stevens
                                            Plaintiff,
v.                                                          Case No.: 1:24−cv−05175
                                                            Honorable Thomas M. Durkin
Follet Higher Education Group, LLC
                                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 21, 2024:


        MINUTE entry before the Honorable Thomas M. Durkin: By 8/30/2024, the
parties are to file a joint status report. The parties may refer to the format detailed on the
Court's website under New and Reassigned cases. Mailed notice. (ecw, )




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